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UNITED STATES COURT OF APPEALS FOR THE SEVENTH CIRCUIT

Everett McKinley Dirksen
United States Courthouse
Room 2722 - 219 S. Dearborn Street
Chicago, Ilinois 60604

Office of the Clerk
Phone: (312) 435-5850
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FINAL JUDGMENT
October 21, 2021

Before
DIANE S. SYKES, Chief Judge
JOEL M. FLAUM, Circuit Judge
ILANA DIAMOND ROVWNER, Circuit Judge

DRIFTLESS AREA LAND CONSERVANCY and WISCONSIN
WILDLIFE FEDERATION,
Plaintiffs - Appellees

REBECCA VALCQ and TYLER HUEBNER, in their official
No. 20-3325 capacities as members of the Public Service Commission of
Wisconsin,

Defendants - Appellants

and

AMERICAN TRANSMISSION COMPANY LLC, et al.,
Intervenor Defendants - Appellants

Originating Case Information:
District Court No: 3:19-cv-01007-wmc
Western District of Wisconsin
District Judge William M. Conley

The judge correctly denied the commissioners’ motion to dismiss based on sovereign immunity.
But he incorrectly denied the motion for Colorado River abstention. We therefore REVERSE,
with costs, and REMAND with instructions to stay this case pending dispositive developments
in the state litigation. The motion to partially lift the stay pending appeal is denied as moot.

The above is in accordance with the decision of this court entered on this date.

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